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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

                                                 )
 CONTENDER FARMS, L.L.P.; LEE                    )
 McGARTLAND, MIKE McGARTLAND,                    )
 and SHOW, INC.                                  )
                                                 ) Action No. 4:16-cv-0163-Y
                Plaintiffs,                      ) Hon. Terry R. Means
                                                 )
        v.                                       )
                                                 )
 UNITED STATES DEPARTMENT OF                     )
 AGRICULTURE,                                    )
                                                 )
                Defendant.                       )

  DEFENDANT’S MOTION TO SEVER THE CLAIMS OF PLAINTIFF SHOW
                    (Fed. R. Civ. P. 20 and 21)

       Pursuant to Fed. R. Civ. P. 20 and 21, defendant the United States Department of

Agriculture (USDA) moves that the Court sever the claims of plaintiff SHOW, Inc. from

this lawsuit due to misjoinder. USDA submits herewith a supporting memorandum.

       WHEREFORE, USDA requests that the Court sever the claims of SHOW against

USDA from this action pursuant to Fed. R. Civ. P. 20 and 21; that the other plaintiffs,

Mike and Lee McGartland and Contender Farms, L.L.P., be required to file a further

amended complaint that is limited to their allegations and claims; and that USDA be

allowed thirty days to answer, move under Rule 12, or otherwise response to such

amended pleading.
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DATED: April 18, 2016
                                             Respectfully submitted,

                                             BENJAMIN C. MIZER
                                             Principal Deputy Assistant Attorney General

                                             SARAH R. SALDAÑA
                                             United States Attorney

                                             ERIC WOMACK
                                             Assistant Director

                                              /s/ Peter T. Wechsler
                                             PETER T. WECHSLER (MA Bar)
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                                                Counsel for Federal Defendants

                            CERTIFICATE OF SERVICE

       I hereby certify that on April 18, 2016, I electronically filed the foregoing Motion

with the Clerk of the Court using the ECF system which sent notification of such filing to

plaintiffs’ counsel, Karin Cagle, at kcaglelaw@gmail.com, and David Broiles, at

davidbroiles@gmail.com.

                                             /s/ Peter T. Wechsler
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